8:14-cr-00206-RFR-MDN         Doc # 192     Filed: 01/04/17    Page 1 of 6 - Page ID # 589




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           CASE NO. 8:14CR206
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )                MEMORANDUM
                                              )                 AND ORDER
AARON R. RUSSELL,                             )
                                              )
                     Defendant.               )

       This matter is before the Court on the Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody, ECF No. 188, filed by the

Defendant, Aaron R. Russell (“Russell”). Rule 4(b) of the Rules Governing Section 2255

Proceedings for the United States District Courts requires initial review of a § 2255 motion,

and describes the initial review process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                                  FACTUAL BACKGROUND

       On June 29, 2015, Russell entered a plea of guilty to Count II (Bank Robbery),

Count III (Using, Carrying, or Brandishing a Firearm During a Crime of Violence), and

Count VI (Attempted Credit Union Robbery), of the Superseding Indictment. Russell

signed his plea petition under oath, stating that he was satisfied with the performance of

his attorney, and he was guilty of the offenses. Russell’s answers given under oath at his

change of plea hearing corroborated the answers in his petition. In his plea agreement,

he waived his right to appeal, and did not file any direct appeal. On September 28, 2015,
8:14-cr-00206-RFR-MDN        Doc # 192     Filed: 01/04/17    Page 2 of 6 - Page ID # 590




this Court accepted the parties’ plea agreement, entered into pursuant to Fed. R. Crim. P.

11(c)(1)(C), and sentenced Russell to a term of incarceration of 96 months on Counts II

and VI, to run concurrently, and 84 months on Count III to run consecutively, for a total of

180 months incarceration, as stipulated to by the parties in the plea agreement. The Court

also imposed a term of two years supervised release on all three Counts, to run

concurrently.

       Russell timely filed his § 2255 motion, arguing: (1) his sentence violated his

constitutional right to be free from double jeopardy under the Fifth Amendment to the

United States Constitution, (2) he was denied his right to effective assistance of counsel

under the Sixth Amendment to the United States Constitution, and (3) a statute under

which he was convicted was unconstitutionally vague, creating a violation of the Due

Process Clause of the Fifth Amendment to the United States Constitution.

                                      DISCUSSION

Ground One: Double Jeopardy

       Russell contends that his conviction and sentence on Count III, for carrying, using,

or brandishing a firearm in connection with a crime of violence, constitutes double jeopardy

because he also received a sentencing enhancement on his guideline calculation, due to

his use of a firearm in connection with a felony offense.

       Although Russell’s argument may be deemed moot in light of his Rule 11(c)(1)(C)

plea agreement and the stipulated sentence, his factual premise is also incorrect. The

record reflects that the Presentence Investigation Report (“PSR”), ECF No. 161, applied




                                             2
8:14-cr-00206-RFR-MDN         Doc # 192     Filed: 01/04/17     Page 3 of 6 - Page ID # 591




no enhancement to the calculation of the sentencing guideline for Count II based upon

Russell’s carrying, use, or brandishing of a firearm. The PSR states:

       Because the defendant was convicted of 18 U.S.C. § 924(c)(1)(A)(ii) on
       Count III of the Superseding Indictment, a five-level enhancement for
       brandishing a firearm, pursuant to USSG § 2B3.1(b)(2)(C), was not applied
       in the guideline calculation of Count II. See Application Note 4 of USSG
       § 2K2.4.

Id. ¶ 50, Page ID 416.

       While Russell did receive a five-level enhancement on his guideline calculation for

Count VI, pursuant to USSG § 2B3.1(b)(2)(C), because a firearm was possessed during

the attempted robbery of the Metro Credit Union, Count VII of the Superseding Indictment,

charging him with the separate offense of carrying, using, or brandishing a firearm in

connection with the attempted Credit Union robbery, was dismissed pursuant to the Plea

Agreement. Accordingly, the calculation of Russell’s sentencing guideline for Count VI

would not give rise to any claim for relief under the Double Jeopardy Clause, even if he had

been sentenced pursuant to the guidelines and not the Rule 11(c)(1)(C) plea agreement.

       Russell’s first ground for his 2255 Motion, based on an alleged violation of his rights

under the Double Jeopardy Clause, is without merit and will be denied.

Ground Two: Ineffective Assistance of Counsel

       In order to establish ineffective assistance of counsel, Russell must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed



                                              3
8:14-cr-00206-RFR-MDN        Doc # 192     Filed: 01/04/17   Page 4 of 6 - Page ID # 592




by the Sixth Amendment. Id. at 687–89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.

      Russell argues that his counsel was ineffective because Russell received a

sentence above the guideline range for Counts II and VI. Russell’s sentencing range under

the Guidelines for Counts II and VI, with the multiple count adjustment, was 57 to 71

months. The Government agreed to dismiss Count I (Conspiracy to Commit Bank

Robbery), Count V (Conspiracy to Commit Credit Union Robbery), and Count VII (Carrying,

Use, or Brandishing of a Firearm in Connection with Attempted Credit Union Robbery) of

the Superseding Indictment pursuant to Russell’s Rule 11(c)(1)(C) plea agreement. The

parties stipulated to a total term of incarceration of 180 months (ECF No. 144, Page ID

338), with 84 months of that term associated with the mandatory seven-year consecutive

term on Count III. Had the government not agreed to dismiss Counts I, V, and VII, Russell

faced potential mandatory penalties far exceeding the term of incarceration imposed.

      Russell has satisfied neither the performance prong nor the prejudice prong of

Strickland, and his second ground for relief is without merit and will be dismissed.

Ground Three: Vagueness of Criminal Statute

      Russell argues that the United States Supreme Court’s decision in Johnson v.

United States, 135 S. Ct. 2255 (2015), finding the residual clause in 18 U.S.C.

§ 924(e)(2)(B)(ii) to be unconstitutionally vague, should be applied to the language in 18

U.S.C. § 924(c)(1)(A) which cross-references 18 U.S.C. §924(c)(3).




                                            4
8:14-cr-00206-RFR-MDN         Doc # 192      Filed: 01/04/17    Page 5 of 6 - Page ID # 593




       The residual clause in § 924(e)(2)(B)(ii) at issue in Johnson refers to any crime that

“involves conduct that presents a serious potential risk of physical injury to another.”

Section 924(c)(3) provides:

       (3) For purposes of this subsection the term “crime of violence” means an
       offense that is a felony and–

       (A) has as an element the use, attempted use, or threatened use of physical
       force against the person or property of another, or

       (B) that by its nature, involves a substantial risk that physical force against
       the person or property of another may be used in the course of committing
       the offense.

18 U.S.C. §924(c)(3)

       While Russell’s argument might be well taken if his underlying offense were one

described in § 924(c)(3)(B), his underlying offenses that led to the conviction and sentence

in Count III, and to the sentencing enhancement in Count VI, both clearly fall under the

language of the “force” clause, § 924(c)(3)(A). Accordingly, Russell’s third ground for relief,

based on an alleged violation of his rights under the Due Process Clause, is without merit

and will be denied.


       IT IS ORDERED:

       1.     The Defendant’s Motion for Leave to Proceed in Forma Pauperis, ECF No.
              189, is granted;

       2.     The Court has completed the initial review of the Defendant’s Motion Under
              28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in
              Federal Custody (“§ 2255 motion”), ECF No. 188;

       3.     Upon initial review, the Court finds that the Defendant's § 2255 motion
              should be summarily dismissed;




                                              5
8:14-cr-00206-RFR-MDN     Doc # 192    Filed: 01/04/17   Page 6 of 6 - Page ID # 594




     4.    The Defendant’s Motion Under 28 U.S.C. §2255 to Vacate, Set Aside, or
           Correct Sentence by a Person in Federal Custody, ECF No. 188, is
           dismissed;

     5.    A Separate Judgment will be entered; and

     6.    The Clerk will mail a copy of this Memorandum and Order to the Defendant
           at his last known address.


     DATED this 4th day of January, 2017.

                                            BY THE COURT:


                                            s/Laurie Smith Camp
                                            Chief United States District Judge




                                        6
